         Case 1:20-cv-03388-EGS Document 68 Filed 12/23/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 MICHIGAN WELFARE RIGHTS
 ORGANIZATION, et al.,

                Plaintiffs,                    Case No. 1:20-cv-03388-EGS
 v.

 DONALD J. TRUMP, et al.,

                Defendants.



             PLAINTIFFS’ CROSS-MOTION TO COMMENCE DISCOVERY


       Plaintiffs Michigan Welfare Rights Organization, NAACP, Maureen Taylor, Nicole L.

Hill, and Teasha K. Jones, by counsel, respectfully move for the Court to authorize Plaintiffs to

commence pre-answer discovery.

       In support of this cross-motion, Plaintiffs submit the accompanying statement of points and

authorities, which is fully incorporated herein.



 Dated: December 23, 2022                      Respectfully submitted,
                                               /s/ Jason M. Bradford
                                               Jason M. Bradford (D.D.C Bar No. IL0073)
        Case 1:20-cv-03388-EGS Document 68 Filed 12/23/22 Page 2 of 3




Samuel Spital (D.D.C Bar No. SS4839)   Jason M. Bradford (D.D.C Bar No. IL0073)
Janai S. Nelson (pro hac vice)         Jonathan A. Enfield (D.D.C Bar No. IL0074)
NAACP LEGAL DEFENSE &                  JENNER & BLOCK LLP
EDUCATIONAL FUND, INC.                 353 N. Clark St.
40 Rector St., 5th Floor               Chicago, IL 60654
New York, NY 10006                     (312) 222-9350
(212) 965-2200
                                       Stephen L. Ascher (pro hac vice)
                                       JENNER & BLOCK LLP
Anuja D. Thatte (D.D.C. Bar
                                       1155 Avenue of the Americas
No. 1742276)
                                       New York, NY 10036
NAACP LEGAL DEFENSE AND                (212) 891-1600
EDUCATIONAL FUND,
INC.
700 14th Street NW, Ste. 600
Washington, DC 20005
(202) 682-1300

                                       Counsel for Plaintiffs
          Case 1:20-cv-03388-EGS Document 68 Filed 12/23/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I certify that on December 23, 2022, I electronically filed the foregoing Plaintiffs’ Cross-

Motion to Commence Discovery with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to all counsel and parties of record.



 Dated: December 23, 2022                                 /s/ Jason M. Bradford
                                                          Jason M. Bradford
                                                          Attorney for Plaintiffs
